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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION


SHANNON D. MALINISH

v.                                                        CASE NO. 3:12CV338

CONSUMER PORTFOLIO SERVICES, INC.

                             NOTICE OF PRETRIAL CONFERENCE

         This case has been placed on Judge Spencer’s docket, and a pretrial conference will be

held on JULY 26, 2012 at 9:30 a.m. The conference will last approximately five (5)

minutes and will take place in the Chambers of Judge Spencer, Seventh Floor, Room 7014,

United States Courthouse, 701 East Broad Street, Richmond, Virginia. Attendance by an

attorney for each party is required, and the pretrial conference cannot be conducted by

conference call. The Court will set a trial date within ninety (90) days of the date of the pretrial

conference except in cases of protracted litigation.

         Counsel are advised that failure to file a report as required by Fed.R.Civ.P. 26(f) will be

considered by the Court as the parties’ decision to forego the provisions of the Rule.

         Any objections to the initial disclosure filed with the Court as provided in Fed.R.Civ.P.

26 will be resolved by the United States Magistrate Judges following the pretrial conference.

Counsel attending the pretrial conference should be prepared to present the disputed issues to the

Court.
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       It is possible that the Court may determine that this case is suitable for magistrate’s

jurisdiction. The parties shall be deemed to have consented and agreed to such jurisdiction

unless a party informs the Court of its unwillingness to proceed before the Magistrate Judge in a

pleading filed with the Clerk no later than two (2) business days before the scheduled pretrial

conference. The Court will not consider any filing which fails to comply with this requirement.

       Counsel attending the pretrial conference are to be sufficiently knowledgeable of the case

to respond to such queries as the Court may deem appropriate, be prepared to set a firm trial date,

and to discuss settlement prospects.



                                              FERNANDO GALINDO, CLERK

                                              _________/s/__________________
                                              Kathy Hancock
                                              Deputy Clerk



Date: JULY 5, 2012




IF THIS CASE IS SETTLED PRIOR TO THE PRETRIAL CONFERENCE, PLEASE CALL
ME AT 804-916-2226. THANK YOU.
